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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

United States of America,                  )
                                           )
                     Plaintiff,            )
                                           )
       v.                                  )      Case: 0:16-cv-02547-SRN-LIB
                                           )
William J. Mooney, et al.,                 )
                                           )
                     Defendants.           )

                                       Order of Sale

       This Court entered a final judgment in this action on May 18, 2018 (Docket Entry

No. 151), in favor of plaintiff United States and against defendant William J. Mooney for

unpaid federal income tax liabilities for the 2002, 2003, 2004, 2013, and 2014 tax years

and for civil tax penalties assessed against him for the 2004, 2005, 2006, 2007, and 2008

tax years. The Court also entered final judgment against Defendant Joni T. Mooney for

unpaid federal income tax liabilities for the 2002, 2003, 2013, and 2014 tax years and

penalties assessed against her for the 2004, 2005, 2006, 2007, and 2008 tax years. The

judgment also ordered that the federal tax liens associated with those liabilities be

enforced with a judicial sale of the land, along with all improvements, buildings, and

appurtenances thereon, now known as and numbered as 409 6th Avenue Northwest, Little

Falls, Minnesota (the “Property”), and that the proceeds of sale be distributed as set forth

in the Court’s final judgment. The property has a legal description of Lots 9, 10, 11, 12,

and 13, all in Block 11 of Thayer’s Addition to the City of Little Falls, according to the

plat thereof, and situate in Morrison, County, Minnesota.
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         The Court now ORDERS that the Property shall be sold, pursuant to 26 U.S.C.

§ 7403(c) and 28 U.S.C. §§ 2001 and 2002, in order to collect the unpaid federal tax

liabilities as follows:

         1. The Internal Revenue Service (“IRS”) Property Appraisal and Liquidation

Specialists (“PALS”) are authorized to offer for public sale and to sell the Property.

         2. Terms and Conditions: The terms and conditions of the sale are set forth

below.

               a. The sale of the Property shall be by public auction to the highest bidder,

free and clear of all rights, titles, claims, liens, and interests of all parties to this action,

including the plaintiff United States and the defendants William J. Mooney, Joni T.

Mooney, and Harbor Holdings, Mid-Atlantic Trustees and Administrators, and any

successors in interest or transferees of those parties.

               b. The sale shall be subject to building lines, if established, all laws,

ordinances, and governmental regulations (including building and zoning ordinances)

affecting the Property, and easements, restrictions, and reservations of record, if any.

         Sale Location

               c. The sale shall be held either at the courthouse of the county or city in

which the Property is located or on the Property’s premises.

         Notice of Sale

               d. The PALS shall announce the date and time for sale.



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                 e. Notice of the sale shall be published once a week for at least four

consecutive weeks before the sale in at least one newspaper regularly issued and of

general circulation in Morrison County and, at the discretion of the PALS, by any other

notice or advertisement that the PALS deems appropriate. The notice of the sale shall

contain an adequate description of the Property but need not contain the full legal

description, and shall contain the material terms and conditions of sale set forth in this

order of sale.

                 f. The Property shall be offered for sale “as is.”

       Redemption

                 g. The sale shall be made without any right of redemption.

       Minimum Bid

                 h. The PALS shall set, and may adjust, the minimum bid. If the minimum

bid is not met or exceeded, the PALS may, without further permission of this Court, and

under the terms and conditions in this order of sale, hold a new public sale, if necessary,

and adjust the minimum bid.

       Payment of Deposit and Balance

                 i. At the time of the sale, the successful bidder(s) shall deposit with the

PALS, by money order, certified check, or cashier’s check made payable to the Clerk of

the United States District Court for the District of Minnesota, a deposit in an amount

between five (5) and twenty (20) percent of the minimum bid as specified by the PALS in

the published notice of sale. Upon receipt, the PALS will deposit the funds with the Clerk

of this Court. Before permitted to bid at the sale, potential bidders shall display to the

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PALS proof that they are able to comply with this requirement. No bids will be accepted

from any person(s) who have not presented proof that, if they are the successful

bidders(s), they can make the deposit required by this order of sale.

               j. The successful bidder(s) shall pay the balance of the purchase price for

the Property within forty-five (45) days following the date of the sale. The money order,

certified check, or cashier’s check shall be made payable to the Clerk of the United States

District Court for the District of Minnesota and shall be given to the PALS who will

deposit the funds with the Clerk of this Court. If the bidder fails to fulfill this

requirement, the sale shall be treated as null and void, and the deposit shall be forfeited

and disbursed pursuant to further order of this Court, first to cover the expenses of the

sale, then any amount remaining to be applied to the judgment for the federal tax

liabilities entered in this case. The Property shall be again offered for sale under the terms

and conditions of this order of sale or, in the alternative, sold to the second highest

bidder, at the sole discretion of the United States. The successful bidder(s) at the new sale

or second highest bidder, as the case may be, shall receive the Property free and clear of

all rights, titles, claims, liens, and interests of the defaulting bidder(s).

               k. The Clerk of this Court is directed to accept the deposits and the balance

of the proceeds of the sale and deposit them into the Court’s registry for distribution as

provided for pursuant to further order of this Court.

       Confirmation of Sale

               l. The sale of the Property shall be subject to confirmation by this Court. On

confirmation of the sale, ownership and possession of the Property shall transfer to the

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successful bidder(s), and all interests in, liens against, and titles and claims to, the

Property that are held or asserted by the parties to this action are discharged and

extinguished.

                m. After the confirmation of the sale, the IRS shall execute and deliver a

deed under the authority of this Court conveying the Property, effective as of the date on

which this Court confirms the sale, to the successful bidder(s). Also, after this Court

confirms the sale, and on receipt of the deed from the successful bidder, the Recording

Official of Morrison County, Minnesota, shall cause the transfer of the Property to be

reflected upon that county's register of title. The successful bidder(s) shall pay, in

addition to the amount of the bid, any county or local documentary stamps and registry

fees as provided by law.

       3. Preservation of the Property: Up until the date on which this Court confirms

the sale of the Property, the defendants shall take all reasonable steps necessary to

preserve the Property (including all buildings, improvements, fixtures and appurtenances

on the Property) in its current condition including, without limitation, maintaining a fire

and casualty insurance policy on the Property, and the defendants and all occupants of the

Property shall neither commit waste against the Property, nor cause or permit anyone else

to do so. Up until the date on which this Court confirms the sale of the Property the

defendants in this case shall do nothing that tends to reduce the value or marketability of

the Property, nor shall they cause or permit anyone else to do so. Such defendants shall

not record any instrument, publish any notice, or take any other action (such as running

newspaper advertisements, posting signs, or making internet or social media postings)

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that may directly or indirectly tend to adversely affect the value of the Property or that

may tend to deter or discourage potential bidders from participating in the public auction,

nor shall they cause or permit anyone else to do so. If the Property is destroyed before the

date on which this Court confirms the sale of the Property and the defendant(s) is/are

entitled to insurance proceeds, the insurance proceeds shall be paid into the registry of

this Court. Violation of this paragraph shall be deemed a contempt of court and

punishable as such.

       4. Vacating the Property: All persons occupying the Property shall vacate the

Property permanently within 30 days of the date of this order of sale, each taking with

them his or her personal property (but leaving all improvements, buildings, fixtures, and

appurtenances to the Property).

       If any person fails or refuses to vacate the Property by the date specified in this

order of sale, or attempts to re-enter the Property thereafter, the PALS is authorized to

coordinate with the United States Marshals Service to take all actions that are reasonably

necessary to have those persons ejected or excluded, in particular:

              a. The U.S. Marshals Service is authorized to and directed to take any and

       all necessary actions, including but not limited to the use of reasonable force, to

       enter and remain on the premises, which includes, but is not limited to, the land,

       the buildings, vehicles, and any structures located thereon, for the purpose of

       executing this Order.

              b. The United States Marshals Service is further authorized and directed to

       arrest and/or evict from the premises any and all persons who obstruct, attempt to

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         obstruct, or interfere or attempt to interfere, in any way with the execution of this

         Order.

         5. Abandoned Personal Property: Any personal property remaining on the

Property thirty (30) days after the date of this order of sale is deemed forfeited and

abandoned, and the PALS is authorized to dispose of it in any manner they see fit,

including sale. If the abandoned personal property is sold, the proceeds of the sale are to

be deposited into the registry of this Court and disbursed pursuant to further order of this

Court, first to cover the expenses of the sale, then any amount remaining to be applied to

the judgment for the federal tax liabilities entered in this case or as otherwise ordered.

Money orders and checks for the purchase of the personal property shall be made payable

to the Clerk of the United States District Court for the District of Minnesota and the Clerk

of the Court is directed to accept cash, money orders, and checks, and deposit such items

into the Court’s registry for distribution as provided for pursuant to further order of this

Court.

         6. Forwarding Address: No later than two business days after vacating the

Property pursuant to the deadline set forth in paragraph 4, above, the defendants or their

agent shall notify counsel for the United States of a forwarding address where he/she/they

can be reached. Notification shall be made by contacting the U.S. Department of Justice

Tax Division’s trial attorney at (202) 514-6488.

         7. Access to the Property: Up until the date on which this Court confirms the sale

of the Property, the IRS, PALS, and their representatives are authorized to have free and

full access to the Property in order to take any and all actions necessary to preserve and

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market the Property, including, but not limited to, retaining a locksmith or other person to

change or install locks or other security devices on any part of the Property.

       8. Claims: After the Court confirms the sale of the Property, the sale proceeds

deposited with the Clerk of this Court shall be distributed consistent with this Court’s

final judgment (Docket Entry No. 151).

       IT IS SO ORDERED:

       Signed this 6th day of February 2019.



                                                 s/Susan Richard Nelson
                                                 SUSAN RICHARD NELSON
                                                 United States District Judge




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